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                                   *pro hac vice application
                                        forthcoming

                                   Attorneys for Plaintiff
                              Bristol Myers Squibb Company

                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

BRISTOL MYERS SQUIBB                        :
COMPANY,                                        Civil Action No. 23-3335(RK)(JBD)
                                            :
                          Plaintiff,
              v.                            :   STIPULATION AND
                                                PROPOSED ORDER
XAVIER BECERRA, U.S. Secretary of :
Health & Human Services; CHIQUITA
BROOKS-LASURE, Administrator of           :
Centers for Medicare & Medicaid Services;
U.S. DEPARTMENT OF HEALTH & :
HUMAN SERVICES; CENTERS FOR
MEDICARE & MEDICAID SERVICES, :

                          Defendants.       :

      WHEREAS, on June 16, 2023, Plaintiff Bristol Myers Squibb Company (BMS)

filed this constitutional challenge to the Medicare “Drug Price Negotiation Program”

(the Program) in the Inflation Reduction Act (IRA), which Congress enacted and the

President signed last summer. ECF 1. The Complaint alleges that the Program
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violates the Fifth Amendment’s Takings Clause and the First Amendment. Id. ¶¶ 94-

101, 103-07. BMS seeks a declaration that the Program is unconstitutional and an

injunction preventing the Program’s implementation with regard to any BMS drug

that may be selected. Prayer for Relief ¶¶ 1-4;

      WHEREAS, the parties have met and conferred, and agree this case presents

legal questions about the constitutionality of a federal statute that can properly be

resolved through dispositive motions, without the need for discovery. The parties

accordingly intend to file cross-motions for summary judgment pursuant to Federal

Rule of Civil Procedure 56;

      WHEREAS, the parties propose the following, agreed-on schedule for those

cross-motions:

    BMS will file a motion for summary judgment and supporting memorandum

      and declaration by July 21, 2023.

    Defendants will file a combined memorandum in support of their own cross-

      motion for summary judgment, and opposing BMS’s motion, by September 22,

      2023.

    BMS will file a combined reply in support of its motion and opposition to

      Defendants’ cross-motion by October 27, 2023.

    Defendants will file a reply in support of their cross-motion by December 1,

      2023;


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      WHEREAS, the parties respectfully request that the Court allow each brief

described above to exceed this Court’s default page limitation by 10 pages, in view of

the complexity of this case and the consolidated briefing on two parallel motions;

      WHEREAS, because this case concerns the facial constitutionality of a federal

statute, the parties further respectfully request that the Court dispense with Local Civil

Rule 56.1(a)’s requirement that motions for summary judgment be accompanied by

separate statements of material facts. The parties agree that all of the material facts in

this matter concern the operation of the statutory regime and are set forth in official

government documents. BMS also intends to submit a declaration explaining how the

company is affected by the IRA. Accordingly, the parties do not believe separate

statements of material facts would assist the Court in deciding this matter;

      WHEREAS, for essentially the same reasons, the parties respectfully request

that the Court also dispense with Defendants’ obligation to file an Answer to the

Complaint;

      WHEREAS, BMS respectfully requests that the Court schedule oral argument

on the cross-motions at its earliest opportunity after the close of briefing on

December 1, 2023, in view of the national importance of this case and the impending




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harms that BMS alleges it will suffer from the Program. Defendants take no position

on BMS’s request for oral argument;1

      IT IS HEREBY STIPULATED, by and between the parties, through their

respective undersigned counsel, that:

      1)     The parties will file cross-motions for summary judgment based on the

             above briefing schedule;

      2)     The parties shall be permitted to exceed this Court’s default page

             limitation by 10 pages for each brief as described above;

      3)     The parties shall be relieved of their obligation to file statements of

             materials facts with their respective cross-motions for summary

             judgment; and

      4)     Defendants are relieved of their obligation to file an Answer to the

             Complaint.


Dated: July 12, 2023


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        Another pharmaceutical company previously filed a suit in the U.S. District
Court for the District of Columbia raising the same claims presented here. Merck &
Co., Inc. v. Becerra, No. 1:23-cv-01615 (D.D.C.). For that reason, Defendants are likely
to file a motion to transfer this case to the District of Columbia. Counsel for BMS
has informed counsel for Defendants that BMS would oppose such a motion, because
venue is proper in this case based on BMS’s residence in this District. Compl. ¶ 22.
Despite their disagreement about the appropriate forum, the parties agree that
briefing on any such motion to transfer may proceed on a briefing schedule set by the
default Local Rules and Procedures and need not interfere with or disrupt the agreed-
on schedule for the parties’ cross-motions for summary judgment.

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                                              Respectfully submitted,

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                                              Bristol Myers Squibb Company

SO ORDERED:


__________________________________
HON. ROBERT KIRSCH




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